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CASE #: 20-7-00666-0 KNT

Superior Court of Washington
County of King Juvenile Court

Dependency of:

Amended Dependency Petition
D.O.8.: Nera {DPP)

No:20-7-00666-0 KNT

l. Basis
| represent to the court the following:
1.1 Petitioner

KI DCYF by (name) Kelsey Owens
(Name)

1.2 Child alleged to be dependent NOVA

Name
Date of Birth

Home Address

1.3 Parent(s) or Legal Guardian({s):
Mother EX] Father [_] presumed P<battleged

Name Myriam Zayas
Date of Birth a
Marital status single [_] married {_] other Pd singie--}-mared tt other

Driver's License or
Identicard (# and State)

i] Father (_] presumed [j alleged | L] Custodian/Lega! Guardian

Name Unknown 4
Date of Birth Unknown
Marital status [] single [_] married [_] other

Driver's License or

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Identicard (# and State)

Home Address
FOR OFFICIAL USE ONLY
. . Ref. No:
1.4 Child’s Indian Status: Juv. Ref No
bY Based upon the following, the petitioner does not have reason to know the child is an

4:8

1.6

1.

2.

Indian child as defined in RCW 13.38.040 and 25 U.S.C. § 1903(4), and the Federal and
Washington State Indian Child Welfare Acts do not apply to this proceeding:

The child is not enrolled or eligible for enrollment in any federally recognized tribe. The
mother denied any Native American ancestry or eligible for membership of any Federally
Recognized Tribe. There is no reason to being the alleged father has any Native
American ancestry or eligible for membership of any Federally Recognized Tribe.

O Based upon the following, the petitioner knows or has reason to know the child is an
Indian child as defined in RCW 13.38.040 and 25 U.S.C. § 1903(4), and the Federal and
Washington State Indian Child Welfare Acts do apply to this proceeding:

CI The petitioner has made the following preliminary efforts to provide notice of this
proceeding to all tribes to which the petitioner knows or has reason to know the child may

be (1) a member or (2} eligible for membership if the biological parent is also a member:

Dependency: The child should be declared dependent according to RCW13.34.030(6) as follows:

(a) the child has been abandoned as defined in RCW 13.34.030;

(b) the child is abused or neglected as defined in chapter 26.44 RCW; or

(c) the child has no parent, guardian or custcdian capable of adequately caring for the child,
such that the child is in circumstances which constitute a danger of substantial damage to
the child’s psychological or physical development.

WOO

Allegations: The allegation of Dependency is based on the following facts:

Myriam Zayas (DOB: 11/05/1980) is the biological mother of the children: (DOB:
ce ican co ee

(DOG: Bea. (DOB: is the biological father to
was legally on 04/21/2015. (DOB:

GE is the biological father to

certificate. There is no listed father for
Law Services and is not in Ms. Zayas care.

as dismissed from the previous dependency (14-7-01695-4 SEA) on
42/31/2014 after paternity testing established that he is not the biological father of

Stan or

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3, was previously dependent under cause number 14-7-01695-4 SEA. Her dependency was
dismissed in October 2015 after a successful return home to her mother.

4, The artment of Children, Youth, and Families (DCYF) is requesting a shelter care hearing for
child Ms. Zayas is the primary parent providing care for and is actively
using methamphetamines. The safety threat is the following: the caregiver will not or cannot control
their behavior and their behavior impacts child’s safety.

5. On 2/9/2020, the Department received an intake regarding a newborn baby by Ms. Myriam Zayas.
Mandatory Referrer (Ref) at UW Medical Center in Seattle, WA, reports mother Myriam Zayas gave
birth today to a term baby girl, Mother had inconsistent prenatal care and tested positive on 2/7/2020
for methamphetamines. Mother has an extensivé CPS history and is only parenting her 5-year-old
daughter, Ew Referrer reports the mother has so far made an adoption plan and the adoptive
parent, is currently at the hospital. The family has been working with Family Law Solutions. Baby is
being observed for NAS but she is too young to have symptoms. The adoptive family would like to
take the infant home from the hospital, Referrer reports both the bio mother and adoptive parent are
worried about CPS involvement This worker clarified the risk/concern would 5e mother taking baby
home with her, not if the adoption goes through.

6. On 02/18/2020, investigator Owens completed Subject Interview with Ms. Zayas. Ms. Zayas reported
criminal of manufacturing from 2000-2002. Mother reported that one time at Purdy was enough. Ms.
Zayas reported domestic violence with the father of beginning in 2009 including physical
abuse. Ms. Zayas reported substance use of methamphetamines siartng at 18 years olc.
Investigator asked for the last time she used, she stated a cauple years ago. Investigator asked what
started the use, she stated being around other people who are a bad influence. She reported
receiving treatment through the courts. Investigator asked about the positive tox of amphetamines.
Ms. Zayas reported that it was Benadryl. SW asked if Ms. Zayas would complete a urinalysis (UA)
for the Department. Ms. Zayas stated no, not without a court order.

7. On 02/21/2020, Investigator Owens received a call from hospital social worker at Auburn Medical.
Hospital Social Worker reported that Ms. Zayas was currently receiving care at their hospital and
reported the mother as manic. Hospital social worker showed concerns if mother was to refuse a
mental health assessment, and return to caring for FXeya]

8. On 2/23/2020, Investigator Owens texted Ms. Zayas regarding FTDM scheduled for 2/24/2020. Ms.
Zayas replied the following:

“my daughter is at home with me im sorry but im not sure i understand what the hell you are talking
about

Im not attending any meeting of yours | can barely breathe and im in a wheelchair so you can suck
my ass and thanks for not helping me when i asked you for help

tell your open investigation to go jump off of a fucking cliff how about that

we will be out of town for the next 2 weeks thanks for letting us know when to take our vacation.

IF YOU DONT STOP HARASSING ME | WILL CALL THE FUCKING POLICE

LEAVE ME THE FUCK ALONE

THE LAST THING | NEED IS SORRY ASS CPS UP MY FUCKING ASS FOR NO FUCKING
REASON IM CLEAN BITCH | ALMOST DIED FROM PRE ECLAMPSIA YOU ARE NOT MAKING
ANY DECISIONS ON MY DAUGHTER EVER SO GET THAT OUT YOUR FUCKING DUMB ASS
BLANK RETARDED ASS HEAD

INVENTING MEETINGS AND SHIT CUZ YOUR BORED BITCH IM SORRY IT DOESNT WORK
LIKE THAT

HERE IS YOUR FUCKING SUPPORT SYSTEM BITCH GO JUMP OFF A CLIFF

NOBODY GIVES A FUCK ABOUT CPS GO FUCK YOURSELF AND LEAVE ME THE FUCK
ALONE YOU GOT NOTHING HOE

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AND YOUR BLOCKED FROM EVER CONTACTING THIS PHONE AGAIN IF YOU COME TO MY
DOOR | WILL CALL THE POLICE
DUMB BITCH”

9. On 2/24/2020, the Department held a Family Team Decision Making Meeting (FTDM). Ms. Zayas
arrived at DCYF office with sat in play room with Investigator Allen. Ms. Zayas
refused to sign release of information orm for the Department. Investigator went over the
intake the department received. Ms. Zayas reported that "won't be a child of yours” referring
to mother's history with the department. Ms. Zayas reported that no one is taking anyone's kid. Ms.
Zayas reported that she UA’d for the hospital and it was Benadryl. Ms. Zayas stated that the hospital
has UA’s that state they are for medical use only not for court use. When steted again that Ms.
Zayas tested positive for methamphetamines, she siated "what are you going to do about it". Ms.
Zayas reported that she is diagnosed with congestive heart failure. Ms. Zayas reported that she
doesn't cooperate with CPS. Ms. Zayas stated she would pee in a cup for the department. Ms. Zayas
stated "! almost died, so I'm not going to get high". Investigator Supervisor Black asked if mother
would accept services fram the department, Ms. Zayas reported “hell no". Ms. Zayas reported that
her rights were terminated when she was sober. She stated the department took 3 of her children,
"I'm keeping this one”. Ms. Zayas agreed to 30 days of UAs at STOP. Ms. Zayas denied any other
services at this time to help her through medica! diagnoses or mental health needs.

10. On 03/10/2020, Investigator Qwens received UA result from 03/05/2020 of Ms. Zayas testing
positive for amphetamines ané methamphetamines.

11. On 03/13/2020, Investigator Owens informed Ms. Zayas of FTDM being held on 03/16/2020
regarding the positive UA receivec. Ms. Zayas stated “I am never that dumb if i was dirty why the
fuck would i give you my pee think long and hard this is insane’. Ms. Zayas then stated “all you have
to do is drink 2 spoons of baking soda and your pee is clean in 2 hours everyone knows this why
would i pee dirty google it your guys are making this up. | don’t know i am even giving you guys the
secret but this is how i know you are lying httos://www. youtube. com/watch?v=xcF 0IFOgDig’.

the-lastknown

Ape Qf

13. Mother has nineteen prior screened-in intakes regarding substance use and Jack of providing basic
needs to her children. Mother has six screened-out intakes. The mother received five prior founded
findings including Negligent Treatment/Maltreatment, Medical Neglect, and Physical Abuse.

14. On 02/06/2001, the Department received the following concerns regarding medical neglect: Caller
reported that [E¥4™iwho will be on years old this month was born with significant health problems
and was in the NICU for some time. Child has acute asthma and needs to be followed by MD on a
regular basis. Mom is not keeping appointments either with NICU folks or others who are assigned
to help her. Condition of the child is unknown as no providers are seeing her. She should be on a
nebulizer and is not. Mother is on drugs and tries to quit on her own. Does not follow through with
treatment issues for herself either. Caller did a home visit and found that a window was broken
completely out of the home. Mother was either not there or did not respond ta her caller. There was
also an eviction notice on the doar. Mother received a founded finding for this intake.

15. On 04/27/2001, the Department received the following concerns regarding physical ebuse and
negligent treatment/maltreatment. Referent reported that there is no electricity to the apartment. The
home is nearly devoid of furniture and other household goods. The mother spends little or no money

on a and other needed items for There is no preparation for the soon to be born.

is on SSI apparently due to congenital deficiencies from premature birth. Mother is reported
to use drugs on nearly daily basis. Methamphetamines are reported to be used and some alcohol.
Mother is seen carrying the child by one arm or one leg, endangering child's libs and subjecting them
to deforming forces. Though she reported fo no longer have a car, she was seen placing the child in

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a vehicle without securing child in a car seat or seat in car. The mother received founded findings for
both allegations.

16. On 07/27/2001, the Department received an intake with the following concerns: Mother, Myriam
Zayas, was arrested for a warrant and possibly a meth lab in her apartment. Child, Ca
(age IZM is being removed by the police. Mother's sister and child's father is unable to take the
child. Another anonymous referent called with additional information about this family. This ret.
stated that mother is 7 months pregnant and has had very litte prenatal care (1 appointment). The
mother states that when this child is born she will sell it over the internet for $30,000. Myriam is
producing methamphetamines in her home anc there are so many chemicals in the air that the air is
a misty blue color. Mother, Myriam aiso smokes methamphetamine. She will leave the child alone
in the home and has picked her up by her arm and thrown her across the room. She also calls the
child a "slut". Child was placed into protective custody and mother was taken to jail. Mother received
a founded finding.

17. On 01/17/2003, the Department received an intake with the following concems: Ref is calling to
report that her sister Myriam has a 2-month old baby 24M she is staying at the Union Gospel
Mission shelter and had a positive UA this week for Meth. She is being kicked out of the shelter at
noon today 01/17/03. Ref is very worried about this baby. Myriam has lost 2 other children by CPS
due to drugs. Ref also believes that Myriam is breast feeding the child. Ref told her sister to call her
at noon and let her know where she is going to go.

18. On 09/08/2009, the Department received an intake with the following concems: Referrer reported
that Myriam is prostituting on Craigslist and using drugs. Referrer reported while Myriam is
prostitutine she has peaple who use drugs babysit Referrer reported that the babysitter's dog
bt [led in the face. Referrer reported that had to go to the hospital for the dog bite.
Referrer Relieves that the sa nis babysitting [[ev4fagain. Referrer reported they do not
know who has the dog that vit MMC Referrer reported that the dog previously bit the owner's child
in the face. Referrer reported they were in the house on Friday and there was no food in the freezer
or in the house. Referrer reported that Myriam was feeding the children cereal for dinner. Referrer is
upset because Myriam received her food assistance on Wednesday and had not bought fooc.
Referrer reported Myriam told them they are planning on selling the food assistance for drugs.

19. On 07/07/2014, the Department received an intake with the following concerns: Referrer (ref) is a
social worker at the Harborview Women's Clinic calling about the newborn caughter of Myriam
Zayas. Ref spoke with assigned SW this morning to advise her of the birth and SW directed her to
call intake. Baby was born on 94M at 39.5 weeks, with Apgar's of 8/9. Ref did not have access to
the weight of the baby or the results of tox screens on mother and baby, which ref believes are
pending. Ref said the baby was delivered et UWMC. Chart note indicates that a hold will be put in
place, but ref did not have confirmation that this had occurred as yet. Ref said that, per chart, the
mother used meth during her pregnancy. Her use was particularly heavy during the first and second
trimesters. Mother admits to meth use, but at a lower leve! than what is documented in the char.
Mother had “inconsistent’ prenatal care at Swedish, where she had UA’s that were positive for meth,
put then transferred to Harborview at 39.1 weeks’ pregnancy. Ref said it is highly unusual that a
woman would change her prenatal care provider with the baby due at any time.

20. Per intake of 07/03/2014, called in by assigned Child Family Welfare Services (CFWS) Social
Worker (SW): Myriam Zayas is currently restricted to her bed until the baby delivers and she is at
Harborview Hospital. The recommencation is Myriam to remain in the hospital until the child is born.
Placement for the newborn has been arranged. Myriam was at Swedish Hospital for about a week
and a half until yesterday 07/02/2014. Myriam left Swedish Hospital against medical advice and
admitted herself to Harborview Hospital. Myriam had been in inpatient treatment for substance
abuse at Swedish. Myriam left Swedish because she did not want the hospital to have access to her
substance abuse records. Myriam believes she will be taking the newborn home with her but that is
not the case plan. Myriam hes two open dependencies in King and Pierce County regarding
and Myriam was in inpatient treatment at Swedish in December 2013. The discharge

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recommendation was for a 1-2 year, long term residential treatment facility. Myriam did not agree
with the recommendation and instead chose to go to Union Gospel! Mission's Hope Place. Hope
Place although a good program does not meet criteria as a residential treatment program. Myriam
did not engage in any further supportive services other than Hope Place and relapsed in May 2014.
Myriam has been using since the age of 18 and supports herself through prostitution. Myriam reports
she relapsed in May because if she had waited until the baby was oorn CPS would take the child.
The recommendation for Myriam when she left Swedish was random urinalysis 3 times weekly.
Myriam shared with the CDP that she can beat random urinalysis if the tests are less frequent. The
CDP again recommended long term residential treatment for Myriam but she again refuses. Myriam
understands she would have the er of taking her baby with her to treatment. Myriam reports she

won't go because she can't take ith her and she wants home. does net
want to return home to her mo m. The current dependency on is her 3rd and
wants permanency. Myriam has been telling the social worker at Harborview she will nat be
returning to Hope Place after the birth. Myriam plans to leave the hospital with the baby and get her
own apartment. Myriam reports the presumed father of the newborn is currently in a Washington
State Correctional Facility. Myriam states she wants the presumed father to have a relationship with
the newborn. There is a 10 year no contact order between Myriam and the presumed father due to
his irying to kill Myriam. The presumed father tried to strangle Myriam in 2009 in front of [Riana
Bice The presumed father is identified in FAMLINK as Maniac Unknown as that ts his alias. The
presumed father's actual name is IM The Hope Place case manager has spoken to
referrer and has expressed concer about Myriam. Case manager reports when Myriam leaves the
building she risks relapse due to her inability to resist drugs use. Myriam will not be breastfeeding as
she has impiants and medically it has been recommended she not breastfeed.

21. On 11/02/2016, the Department received the following concerns: ae74 years old) recently
was returned to parent on October 28, 2015. Referrer has been in the home about a month ago and
found that there is minima! food for [ZXe¥4J There is oatmeal and biscuits and spoiled milk in the
refrigerator. diaper was full. That was a week day where child goes to the daycare. The
house is messy. Garbage is overflowing anc no clean dishes. There are different people coming into
the house. Mother would leave [ZXe¥4§j alone in the living room and stay in the bedroom with friend/s
for about 30 to 45 minutes.

22. On 11/20/2017, the Department received the following concerns: The referrer was recently at the
home. He responded to an ad from back page and met the mother at her apartment. They went into
her room and did sexual things and smoked methamphetamines together. The referrer saw a little
girl sleeping on the floor under a blanket in the mother's room and there was another child in the
apartment They were both exposed to the methamphetamines smoke. The referrer is very
concerned that the mother would do sexual things with men with her children present and was
concermed that the mother would smoke methamphetamines in the apartment with her children
present. The referrer reports that on his way into the apartment was another man leaving. On his
way out there was another man coming in.

Police Department wrote in her law enforcement report: "I then spoke with o stated the
following: “He asked [Mc come pick him up because he was not happy at home with his
mother, He does not lik that he has to babysit his sister all the time. Approximately 1 month
before our conversation ferdwas in Myriam‘s room, when he found methamphetamine and a pipe
inside her drawer. He recognized the items, because he has friends who use it. He decided to snort
the methamphetamine in his mother's drawer, and did not enjoy the sensation. Aimost every month
Myriam sells her $500.00 in food stamps. When she sells them she gives $40,001 When
men text his mother's phone asking for sex, they do not offer her anything to her in return other than
"their love”.

23. On 06/01/2019, the Department received the following concerns from vay ero with Kert

24. On 07/15/2019, the Department received the following concerns: Referrer originally cailed for ARY
because is using hallucinating drugs and marijuana. Referrer mentioned talking to [vo
was the CPS worker for Referrer was told to call CPS fora YAR due to Weesng drugs.

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Referrer was upset that BB knew We was using marijuana, but did not know the mother was
supplying with marijuana. Referrer did not understand why the Referrer was not informed of
this. Referrer was unable io say what kind of hallucinating drugs is using. On 7/12, Referrer
picked u and his friends from somewhere and they "weren't there mentally”. Referrer waited
for © be sober and had sent him to his mother's house. When the Referrer was at the home,
Bev 4has in his room wih the door locked. When the Referrer was able to go inside the bedroom,
Referrer saw marijuana “crumbs" on a plate. Referrer stated the stems were still on the plate.
Referrer found out that the mother was providing [64 with marijuana for pain relief due to being
hit by a car on the 12th. Referrer noted knee was bruised and he had scrapes on his body
from the car accident.

25. The mother has criminal history including: Conspire to Violate Controlled Substances, Control
Substance Violation Section A, Harassment, Prostitution, and Criminal Trespassing.

26. The alleged father has significant criminal history including: Felony Violation of No Contact Order,
Possession of Drug Paraphernalia, multiple Assault 4" Degree, Harassment, Assault 4 degree- DV,
Attempt to Elude Police, Assault 3- Law Enforcement Officer, Possession of Stolen Vehicle,
Possession of Stolen Property, Riot Deadly Weapon Felony, Unlawful Imprisonment, Criminal
Attempi, Domestic Violence, Escape 2" Degree, muitiple Control Substances Violation Section D,
multiple Control Substances Violation Section A, Control Substances Violation section E, Theft 3,
Reckless Endangerment, Malicious Mischief 3% Degree, and multiple Burglary 2" Degree. There is
multiple active No Contact Orders and Protections Orders with a: the respondent.

27. At this time, the Department contends that there are no available parents that can appropriately and
safely parent oa mother, Ms. Zayas has a long-standing drug addiction issues
that remains untreated. Ms. Zayas tested positive for methamphetamines on 03/05/2020. The
mother has refused any services from the Department outside of UA’s. The mother has prior
dependencies based upon the same safety threats to her children that are described in the petition

above. fate needs to be established, as there is no father listed on the birth certificate. The

alleged father, alse is not the child's primary parent. At this time, the Department is
requesting a pi nd shelter care hearing due to the mother and alleged father’s inabilities

to appropriately and safely parent Yerd

Efforts to provide services to the family to prevent or eliminate the need for removal of the child from
their home include the following: DCYF held an FTDM On 02/24/2620, the mother refused any other
services than completing UA’s for the Department. The mother reported that she is diagnosed with
congestive heart failure and can die if she was to get high again. Mother tested positive for
methamphetamines on 03/05/2020. Mother was previously offered Homebuilders in July 2019, mother
declined services from assigned werker. At this time, there are no additional services the Department
can place into the hame to remedy the safety threats to the child. The department is requesting
licensed foster care placement until a relative or suitable other can be located and approved by the
Department.

At this time, there are no services available to prevent removal of the child and an out of home placement.

There are no services that the Department can place into the home to remedy the safety threats to the child.
The Department is requesting a licensed foster care placement, until an approved relative or suitable other

can be located by the Department.

* Amended to reflect that a: not the biological father.

17 {] Educational Liaison

The child meets the criteria for appointment of an educational faison. DCYF recommends
that the court appoint an educational liaison.

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ll. Relief Requested

The petitioner requests that the court find the child dependent, enter an order of dependency, and grant
the relief below:

KJ enter a disposition order that includes placement, parent-child and sibling visitation, and services.
[4 appoint an educational liaison.

Xx] order a parent to cooperate with the establishment of paternity.

Kj order a parent to sign releases for information.

J Other:

lll. Certification

| declare under penalty of perjury under the laws of the State of Washington that the foregoing
representations are true and correct.

Signed at. Kent (City), Washington on 03! ig 12020 (Date).
~,> o Pp
i, @ aX Wer le fu7
ibe Kelsey Owens
Signature of SW Print Name
Kejana Black
Signature of SW supervisor Print Name

Reviewed/approved on March 16, 2020 by:

Derek Paul Leuzzi
Assistant Attorney General
WSBA # 45508

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